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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


IN RE: GEORGIA SENATE BILL 202                             No. 1:21-MI-55555-JPB
                                                                     ALL CASES

                                     ORDER

      This matter is before the Court on State Defendants’ Motion to Extend

Deadlines to File Oppositions to Several Preliminary Injunction Motions [Doc.

555] and Intervenors’ Motion for Extension of Time to Respond to Plaintiffs’

Preliminary Injunction Motions [Doc. 560]. The Court has fully considered the

briefing submitted by the parties.

      The Court finds that the extension requests in this case are reasonable, and

therefore the motions are GRANTED. The following deadlines shall apply:

          1. The deadline to file a combined opposition to all motions addressing

             the prohibition on giving things of value to voters in line is June 15,

             2023;

          2. The deadline to file an opposition to the motion challenging the

             birthdate requirement is June 22, 2023; and
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          3. The deadline to file an opposition to the motion challenging the

              handling of absentee-ballot applications and dropboxes is June 29,

              2023.

      In light of the extensions afforded to State and Intervenor Defendants, the

Court is willing to extend Plaintiffs’ reply time, if requested.

      SO ORDERED this 26th day of May, 2023.




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